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     ROBIN GOLTSMAN and
10   RG ABRAMS INSURANCE
11
                           UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
14   RG ABRAMS INSURANCE, a California            Case No: 2:21-cv-00194-FLA-MAA
     Company, and ROBIN GOLTSMAN, an
15   individual,
                                                  DECLARATION OF DREW M.
16                    Plaintiffs,                 TATE IN SUPPORT OF
                                                  PLAINTIFFS/COUNTER-
17        v.                                      DEFENDANTS’ JOINT MOTION
                                                  TO MODIFY THE SCHEDULING
18   THE LAW OFFICES OF C.R. ABRAMS,              ORDER
     a California Limited Liability Company;
19   RINELLI Law Group, a California Public
     Corporation; CHRISTOPHER R.
20   ABRAMS, SARAH RINELLI, JACK R.
     MILLS, ROBIN ARMSTRONG,
21   CYNTHIA WOOTEN,
22                    Defendants.
23
24                                                Complaint Filed: February 24, 2020
                                                  Trial Date: February 22, 2022
25
26   AND RELATED CROSSCLAIMS
27
28
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 1                           DECLARATION OF DREW M. TATE
 2         1.     I am over the age of eighteen and an attorney duly licensed to practice before
 3   all courts of the State of California and in the United States District Court for the Central
 4   District of California. I am an associate with Fisher & Phillips LLP, attorneys of record
 5   for Counter-Defendants ROBIN GOLTSMAN and RG ABRAMS INSURANCE in the
 6   above-captioned case. Based on my personal knowledge, I assert the facts set forth herein
 7   and, if called as a witness, I could and would competently testify thereto.
 8         2.     On January 28, 2021, my office was retained by Farmers Insurance to
 9   represent Counter-Defendants Robin Goltsman and RG Abrams Insurance with respect
10   to the Counter-Claims filed by Christopher R. Abrams, Sarah Rinelli, Jack R. Mills, Robin
11   Armstrong, and Cynthia Wooten.
12         3.     On February 16, 2021, my office filed Notices of Appearance for Alden J.
13   Parker and myself to provide notice to the Court and all Parties involved in this litigation
14   that our office is associating into this matter as Counsel of Record for Counter-Defendants
15   Robin Goltsman and RG Abrams Insurance in the defense of Counter-Claimants’
16   Counter-Claims. See Dkt. No. 78, 79.
17         4.     As a result of my office’s recent retention in this matter to defend Counter-
18   Defendants against Counter-Claimants’ claims for relief and allegations, my office will
19   need to review, analyze, and evaluate the numerous facts, claims, allegations, and events
20   taken in this litigation to date. Specifically, this matter consists of Plaintiffs Robin
21   Goltsman and RG Abrams Insurance’s assertion of eleven (11) substantively different
22   claims for relief against seven (7) different Defendants, Counter-Claimant Christopher R.
23   Abrams’ assertion of three (3) substantively different claims for relief against Counter-
24   Defendants Robin Goltsman and RG Abrams Insurance, Counter-Claimants Sarah Rinelli
25   and Jack R. Mills’ assertion of seven (7) substantively different claims for relief against
26   Counter-Defendants Robin Goltsman and RG Abrams Insurance, and Counter-Claimants
27   Cynthia Wooten and Robin Armstrong’s assertion of eight (8) substantively different
28   claims for relief against Counter-Defendants Robin Goltsman. Also, based upon a review
                                                  1
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 1   of the Court’s docket, the Parties have been actively and diligently litigating this matter,
 2   including Counter-Defendants’ Motion to Dismiss Christopher R. Abrams’ Nuisance
 3   Counter-Claims, Christopher R. Abrams’ Motion to Dismiss or Transfer Action, and
 4   Plaintiffs/Counter-Defendants Motion for Attorneys’ Fees and Costs Pursuant to Federal
 5   Rule of Civil Procedure Rule 4(d). See Dkt. No. 20, 25, 27, and 71. Further, based upon
 6   a review of the Court’s Docket, the Parties have also been diligently pursuing discovery,
 7   and even engaged in a lengthy meet and confer process that lasted several months,
 8   ultimately resulting in a court-convened discovery hearing and order. See Dkt. Nos. 55,
 9   58, 59, 61, 66, 70.
10         5.     Additionally, my office will need to conduct substantial written discovery
11   before the current May 3, 2021 discovery cut-off on behalf of Counter-Defendants.
12   Specifically, my office is in the process of preparing and finalizing Counter-Defendant
13   Robin Goltsman’s Interrogatories, Requests for Production of Documents, and Requests
14   for Admission upon each Counter-Claimant, including Christopher R. Abrams, Sarah
15   Rinelli, Jack R. Mills, Robin Armstrong, and Cynthia Wooten. Counter-Defendant Robin
16   Goltsman’s Interrogatories will be aimed at discovering all facts and witnesses that
17   support the numerous claims for relief and allegations in each Counter-Claimants’
18   respective Counter-Claim, as well as the identity of all health care providers that have
19   treated Counter-Claimants for the injuries that they claimed to have suffered as a result
20   of Counter-Defendants’ conduct. Counter-Defendant Robin Goltsman’s Requests for
21   Production of Documents will also be aimed at discovering any and all documents that
22   support the Counter-Claimants’ various claims for relief, allegations, damages and events
23   alleged in all of the Counter-Claims. Finally, Counter-Defendant Robin Goltsman’s
24   Requests for Admission will request that each Counter-Claimant admit that they will not
25   be able to meet the legal elements for all of the claims for relief alleged in each Counter-
26   Claim based upon the application of the facts of this matter to those claims for relief. My
27   office anticipates serving the aforementioned written discovery requests by no later than
28   Friday, March 5, 2021.
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 1         6.     Further, upon receiving Counter-Claimants’ responses to Counter-
 2   Defendant Robin Goltsman’s Interrogatories, Requests for Admission, and Requests for
 3   Production of Documents, my office anticipates serving subpoenas to command the
 4   production of medical records upon any health care provider Counter-Claimants identify
 5   in their written discovery responses. Indeed, as alleged in the Counter-Claims, Counter-
 6   Claimant Christopher R. Abrams claims to have suffered physical and psychological
 7   injuries as a result of being battered by Counter-Defendant Robin Goltsman, and Counter-
 8   Claimants Robin Armstrong, Cynthia Wooten, Jack R. Mills, and Sarah Rinelli claim to
 9   have suffered severe and/or serious emotional distress as a result of Counter-Defendants’
10   intentional and negligent conduct. See Dkt. No. 19, 23, and 24. Accordingly, My office
11   intends to discover: (i) whether Counter-Claimants have received any consultation,
12   treatment, examination from any health care provider for the injuries that Counter-
13   Claimants attribute to Counter-Defendants’ conduct; (ii) whether Counter-Claimants
14   have taken any medication, prescribed or not, as a result of the injuries Counter-Claimants
15   attribute to Counter-Defendants’ conduct; (iii) whether any other medical services have
16   been necessitated by the injuries that Counter-Claimants attribute to Counter-Defendants’
17   conduct; and (iv) whether any health care provider has advised whether Counter-
18   Claimants may require future and/or additional treatment for any injuries that they
19   attribute to Counter-Defendants’ conduct. Stated differently, Counter-Defendants’
20   anticipated subpoenas to command the production of Counter-Claimants’ medical records
21   is necessary for Counter-Defendants to evaluate whether and to what extent Counter-
22   Claimants have suffered any damages including emotional distress, and whether Counter-
23   Claimants have incurred any actual expenses in treating their claimed injuries and
24   emotional distress.
25         7.     Finally, Counter-Defendants anticipate deposing all of the Counter-
26   Claimants’ regarding their respective claims for relief, allegations, and damages, as well
27   as any other non-party witness to Counter-Claimants’ claims, allegations, and damages.
28   Counter-Defendants specifically hope to depose Counter-Claimants after receiving
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 1   Counter-Claimants’ responses to Counter-Defendant Robin Goltsman’s Interrogatories,
 2   Requests for Production of Documents, and Requests for Admission, as well after
 3   receiving any responsive production to any subpoena to Counter-Claimants’ health care
 4   providers commanding the production of their medical records. Counter-Defendants will
 5   request and intend to keep open any deposition in the event Counter-Defendants do not
 6   receive timely Counter-Claimants’ written discovery responses and/or any timely
 7   production to any subpoenas that Counter-Defendants serve.
 8         8.      On February 23, 2021, I sent counsel for Defendants/Counter-Claimants,
 9   timothy Donahue, an email correspondence confirming my office’s agreement to continue
10   all litigation deadlines six months to allow the Parties to continue and complete discovery
11   efforts. Attached hereto as Exhibit A is a true and correct copy of my email
12   correspondence to Timothy Donahue, dated February 23, 2021.
13         9.      In order to prepare the Motion to Amend the Scheduling Order, I performed
14   3.5 hours of legal work broken down by the following tasks:
15              a. Review and analyze discovery propounded and discovery meet and confer
16                 efforts (.40);
17              b. Review and analyze procedural posture and procedural history (.40);
18              c. Prepare Memorandum of Points and Authorities in support of Motion to
19                 Amend Scheduling Order (.8); and
20              d. Prepare Declaration of Drew M. Tate in support of Motion to Amend
21                 Scheduling Order (1.9).
22   ///
23   ///
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                                                 4
      DECL. OF DREW M. TATE ISO JOINT                            CASE NO.: S:21-CV-194-FLA(MAAX)
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 1         10.    Accordingly, the attorneys’ fees for preparing this Motion thus far total $840,
 2   calculated by multiplying my hourly rate ($240.00) by the 3.50 I spent preparing this
 3   motion thus far. The $840 in attorneys’ fees incurred by Counter-Defendants’ thus far
 4   does not include the attorneys’ fees which will be required to prepare a Reply to
 5   Defendants/Counter-Claimants’ anticipated Opposition, or the attorneys’ fees for
 6   attending a hearing on this Motion.
 7         I declare under penalty of perjury under the laws of the State of California and the
 8   laws of the United States of America that the foregoing is true and correct.
 9         Executed on March 4, 2021, at Los Angeles, California.
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11                                                    /s/ Drew M. Tate
12                                                    Drew M. Tate, Esq.

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